                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION
JULIE V. DEGRAW,
      Plaintiff,
vs.                                                             Case No.: 8:18-cv-02116-T36-SPF
BOB GUALTIERI, et al.
      Defendants.
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  TABLE OF CONTENTS TO RECORD EVIDNECE IN SUPPORT OF PLAINTIFF’S
     OPPOSITION TO DEFENDANT GOEPFERT’S MOTION FOR SUMMARY
                           JUDGMENT


Julie DeGraw deposition transcript,                 Dkt. 96-2

Dpt. Eduardo Martinez Deposition Transcript,        Dkt. 96-7

Dept. Gregory Goepfert Deposition Transcript,       Dkt. 96-8

Charles Street Deposition Transcript,               Dkt. 96-10

Ex. 28, SO16-363788/6,                              Dkt. 96-2

SO16-363788/26,                                     Dkt. 96-9

SO16-363788/10,                                     Dkt. 96-12

SO16-363788/26,                                     Dkt. 96-10


Exhibit A: SO16-363788/37                           Dkt. 108-2

Exhibit B: SO16-363788/22                           Dkt. 108-3

Exhibit C: SO16-363788/7                            Dkt. 108-4

Exhibit D: SO16-363788/8                            Dkt. 108-5

Exhibit E: SO16-363788/8/21                         Dkt. 108-6




                                                1
